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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

U-HAUL CO. OF ARIZONA,              )
                                    )
           Plaintiff,               )
                                    )                   Case No. 1:23-cv-00129
v.                                  )
                                    )                   Hon. Robert W. Gettleman
JOHNATHON O. DAVIS; MERAYSHA        )
BOLER; ESTATE OF ALAIA JOHNSON;     )
ELISE R. PRUCKLER; OCTAVEIN         )
JOHNSON; ISIYA A. JONES; ALTAWAN B. )
BERDIN; DEREK A. LOVE; YELLOW       )
CORPORATION D/B/A YRC FREIGHT; and )
TAMIRA M. COGDELL,                  )
                                    )
           Defendants.              )

      ORDER GRANTING INTERPLEADER AND DECLARATORY JUDGMENT

       This matter came before the Court on a Stipulation for Interpleader and Declaratory

Judgment by Plaintiff U-Haul Co. of Arizona (“UHAZ”) and Defendants Estate of Alaia Johnson,

Elise R. Pruckler, and Octavein Johnson (collectively, the “Parties”).

       Based upon the Stipulation of the Parties, and all the pleadings on file with the Court, the

Court finds as follows:

       1.      On January 10, 2023, U-Haul Co. of Arizona (“UHAZ”) filed its Interpleader and

Declaratory Judgment Complaint (“Complaint”) seeking to accomplish two things: (1) interplead

disputed funds pursuant to 28 U.S.C. § 1335 or, alternatively, under Federal Rule of Civil

Procedure 22; and (2) obtain declaratory relief that upon the interpleader payment, UHAZ and its

affiliates owe no further duties of defense and indemnification to Defendants Johnathon O. Davis

or Merayasha Boler based on the terms of a contract and pursuant to 28 U.S.C. § 2201. Doc. 1.
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 JURISDICTION OVER THE INTERPLEADER AND DECLARATORY JUDGMENT
                         CLAIM AND VENUE

       2.      The Court has jurisdiction over this interpleader action pursuant to 28 U.S.C. §

1335 because UHAZ has property in its possession which it seeks to interplead into the registry of

the Court of $150,000.00, which exceeds $500, and minimal diversity existed at the time this case

was filed between two or more adverse claimants of diverse citizenship, because Defendants

Cogdell, Love, Johnson, Pruckler, Berdin, Jones, Boler and Davis are citizens of Illinois, and

Defendant Yellow Corporation is a citizen of Missouri and Delaware.

       3.      The Court has jurisdiction over UHAZ’s declaratory judgment claim pursuant to

28 U.S.C. § 1367(a), as supplemental jurisdiction to the interpleader claim.

       4.      The Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000.00, and there is complete diversity of

citizenship among the parties because Plaintiff is a citizen of Arizona, and none of the Defendants

are citizens of Arizona.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because it is the

judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred.

       6.      Venue is also proper in this District pursuant to 28 U.S.C. § 1397, as the judicial

district in which one or more claimants reside.

         THE SUBJECT ACCIDENT, PARTIES AND PROCEDURAL HISTORY

       7.      This case arises out of a multi-vehicle collision on or about June 1, 2022 in

Glenwood, Illinois, on I-394 northbound near the intersection of East Glenwood-Lansing Road

(the “Collision”).




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       8.      According to the Illinois Traffic Crash Report prepared by the Illinois State Police,

the Collision involved a rental truck bearing Arizona license plate number AE39812 and vehicle

identification number 1GDY72BA9C1903225 (the “Subject Rental Vehicle”), and four other

motor vehicles driven, owned, or occupied by the Defendants.

       9.      The Illinois Traffic Crash Report states:

       Unit 1 [the Subject Rental Vehicle] was traveling Northbound on Illinois 394 at
       approximately Glenwood-Lansing Road in the left lane, Unit 2 was stopped in the
       left lane (construction zone) behind Unit 3 unknown vehicle, Unit 3 was stopped
       behind Unit 4 and Unit 4 was stopped behind Unit 5 in the left lane. Unit 1 failed
       to slow down approaching the construction zone and struck Unit 2 in the rear
       causing Unit 2 to overturn onto its passenger side, then Unit 2 landed on Unit 3
       causing rear end damage. Unit 1 bounced off Unit 2 and continued Northbound
       hitting Unit 4 on the passenger side, then struck Unit 5 in the rear causing Unit 5 to
       go across right lane and off into a ditch with rear end damage. Unit 1 after hitting
       Unit 5 Unit 1 came to final rest facing Northbound against the median cables. . . .

See Exhibit 1, Illinois Crash Report at 2.

       10.     The Subject Rental Vehicle was rented to Defendant Meraysha Boler at the time of

the Collision, and driven by Defendant Johnathon O. Davis at the time of the Collision.

       11.     Unit 2 was a Hyundai Tucson owned and driven by Elise Pruckler. Ms. Pruckler’s

minor child, Alaia Johnson, was a passenger of this vehicle at the time of the Collision.

       12.     Alaia Johnson died after the Collision allegedly as a result of injuries sustained

during the Collision.

       13.     Octavein Johnson is another surviving parent of Alaia Johnson, and was not in one

of the vehicles involved in the Collision at the time of the Collision.

       14.     This action was filed on January 10, 2023, and provided notice of the intent to

interplead funds and obtain a declaration of the rights and relief more particularly described

therein.




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       15.     On May 17, 2023, the Court dismissed Defendants Yellow Corporation and Derek

A. Love pursuant to a stipulation by the parties who had then-appeared, wherein Yellow

Corporation and Derek A. Love waived a claim to funds UHAZ seeks to interplead and also

agreed to be bound by a judgment entered by this Court. Docs. 33 & 34.

       16.     On May 18, 2023, the Court entered default against Defendants Johnathon O.

Davis, Meraysha Boler, Isiya A. Jones, Altawan B. Berdin, and Tamira M. Cogdell. Doc. 35.

       17.     The remaining Defendants who are not in default are Ms. Pruckler, Mr. Johnson,

and the Estate of Alaia Johnson, all represented by the same counsel at Clifford Law Offices, P.C.

                           THE SUBJECT RENTAL CONTRACT

       18.     The Rental Contract, and Rental Contract Addendum/Document Holder (referred

to herein collectively as the “Rental Agreement”) providing for the rental of the Subject Rental

Vehicle to Ms. Boler at the time of the Collision contained liability coverage terms, limitations,

and exclusions relevant to the Collision. Specifically, it provided Ms. Boler and authorized

drivers with liability protection pursuant to the financial responsibility or compulsory insurance

laws of the jurisdiction in which the accident occurs, and in amounts compliant with the

minimum financial requirements (“MFR”) of that jurisdiction. See Doc. 1-1, Addendum – “3.

LIABILITY PROTECTION”.

       19.     The Subject Rental Vehicle is self-insured with UHAZ, who provides the MFR

liability protection described in the preceding paragraph, as excess coverage to other insurance.

       20.     Pursuant to 65 ILCS 5/9-101 et seq., in Illinois the basic financial coverage required

for compliance related to property damages is $50,000.00, and related to bodily injury or death to

two or more people is $100,000.00.




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       21.     Pursuant to the terms of the Rental Agreement, there is no duty to defend lawsuits,

particularly if the liability protection has already been afforded by payment of the MFR funds into

the Court’s repository.

       22.     The Rental Agreement provides—inter alia and in relevant part—as follows:

       The Company has no duty to defend lawsuits not covered by this liability
       protection. To the extent permitted by applicable law, the Company has no duty to
       defend any Authorized Driver in any claim or lawsuit rising out of acts prohibited
       by this Agreement. I understand that if a claim is made or a lawsuit is filed under
       the terms of this Agreement, and if no other source of defense is available to the
       Authorized Driver, the Company may defend the claim or lawsuit at its sole
       discretion. In defending the claim or lawsuit, the Company may, at its sole
       discretion make any settlements which the Company considers advisable.
       Company has a right, but not a duty, to defend a claim or lawsuit at its sole
       discretion. Company has the exclusive right to hire, retain, and direct its counsel
       of choice, if and when Company defends a claim or lawsuit hereunder.

Doc. 1-1, Addendum – “3. LIABILITY PROTECTION”.

                          APPROPRIATENESS OF INTERPLEADER

       23.     The funds which UHAZ may be obligated to pay in total to any party or claimant

pursuant to the Subject Rental Contract and Illinois law is $150,000.00.

       24.     Under Illinois law, a party may interplead when claims of multiple parties “arising

out of the same or related subject matter” and “may expose plaintiff to double or multiple liability.”

735 ILCS 5/2-409.

       25.     There are multiple potential claimants with an interest in the funds, whose interest

in the funds are adverse and independent.

       26.     Based on the number of vehicles and parties involved in the subject accident,

UHAZ maintains an identifiable concern of multiple claimants because of the adverse and

competing claims for the funds.

       27.     UHAZ is uncertain which claimant is or may be entitled to the MFR funds for

claims arising out of the Collision.


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       28.     To avoid the potential for unnecessary or improper litigation, and without waiving

any defense to coverage, UHAZ seeks to tender the MFR funds that are required under 5/9-101 et

seq. and the parties stipulate to such payment.

APPROPRIATENESS OF DECLARATORY JUDGMENT RELIEVING UHAZ AND ITS
            AFFILIATES OF ANY FURTHER OBLIGATIONS

       29.     Pursuant to 28 U.S.C. § 2361, the Court may enter an order restraining claimants

from “instituting or prosecuting any proceedings in any U.S. courts affecting the funds until this

Court enters further order. It also affords the Court the authority to discharge UHAZ from further

liability, make a permanent injunction retaining proceedings affecting the funds, and make other

appropriate order to enforce a judgment.

       30.     Pursuant to 28 U.S.C. § 2201 et seq. the Court also has the authority to declare

rights in a case of an actual controversy.

       31.     There is an actual controversy over UHAZ and its affiliates’ rights and obligations

under the Rental Agreement, including—if any—the indemnity and defense obligations owed

under the Rental Agreement for claims arising out of the Collision, and the parties stipulate to such

declaration.

       Based on the foregoing, it is ORDERED that:

       A.      U HAZ shall deposit $150,000.00 with the Clerk of the Court into Court's Registry,

and the Clerk of the Court is directed to invest funds into CRIS (interest bearing account) until

further order of the court

       B.      UHAZ and its affiliates owe no further defense or indemnity obligations to any

party to this case arising out of the Rental Agreement.




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       C.      UHAZ and its affiliates have exhausted their potential obligations to any party or

claimant and owe no further defense or indemnity obligations to any party—identified or

unidentified in this case.

       D.      UHAZ is discharged from this lawsuit and relieved of any claims by any party

regarding the interpleaded funds, or defense or indemnity to any party involving the Collision and

the Rental Agreement.

       E.      The parties to this case are enjoined from filing any suit relating to the funds against

UHAZ and its affiliates in any other court.

       It is so ORDERED this 27th day of July 2023.



                                                       Robert W. Gettleman
                                                       U.S. District Court Judge




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